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            EXHIBIT 1
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     JUAN M. MERCHAN
JUDGE OF THE COURT OF CLAIMS
 SUPREME COURT, CRIMINAL TERM
     FIRST JUDICIAL DISTRICT


       Via Email
                                                                                March 15, 2024
       Todd Blanche, Esq.
       Blanche Law
       99 Wall Street
       Suite 4460
       New York NY, 10005

       A.D.A. Matthew Colangelo
       New York County District Attorney's Office
       One Hogan Place
       New York, NY 10013
                                           Re: People v. Trump, Ind. No. 71543-2023

       Dear Counsel:
                  On March 8, 2024, Defendant electronically filed a premotion letter seeking permission to
       file a motion for discovety sanctions based on the People's alleged violations of Criminal Procedure
       Law ("CPL") Article 245. As a remedy, defendant seeks dismissal of the indictment, or in the
       alternative, (1) preclusion of testimony from Michael Cohen, Stephanie Clifford and Adav Nati, and
       (2) an adjournment of the trial date of at least 90 days. A notice of motion, affirmation and motion
       were attached to the premotion letter.
                  By letter dated March 11, 2024, the People asked this Court to deny Defendant leave to file
       the motion for discove1y sanctions and adjournment on the grounds that the motion is "factually
       and legally meritless, procedurally time-barred, and intended to cause delay."
                  On March 12, 2024, this Court informed Counsel that it had accepted Defendant's motion
       for discovery sanctions. The People requested a deadline of March 15, 2024, to oppose the motion.
       Later the same day, the People filed a premotion letter seeking leave of the Court to file a motion
       for an extension of the deadline to finalize trial exhibit designations from March 15, 2024, to March
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    25, 2024. The People asked the Court to treat the premotion letter as the motion itself. Defendant
   opposed the People's motion for an extension on various grounds, including that granting the
   motion would result in prejudice to the Defendant.
            On March 14, 2024, the People filed notice regarding the production of records by the U.S.
   Attorney's Office for the Southern District of New York ("USAO-SDNY"). In substance, the
   People informed the Court that the USAO-SDNY produced 73,000 pages of records on March 4,
   2024; 31,000 pages of records on March 13, 2024; and that it expected· to make an additional
   production next week. 1 Notably, while maintaining that they are ready fot trial and that they remain
   in full compliance with Article 245, the People consent to an adjournment of up to 30 days for
   Defendant to review the documents produced by the USAO~SDNY. Lastly, the People requested
   an extension from March 15, 2024, to March 18, 2024, to file a full response to Defendant's
   discovery motion. People's notice of March 14, 2024.
            Last night, Defendant filed his response to the People's notice. In the response, Defendant
   requests an "immediate adjournment" of more than 30 days. Defendant also asks this Court to
   reject the People's arguments regarding the pending motion to dismiss the Indictment "until (1) the
   People collect and produce all discovery to which" Defendant is entitled, and (2) the Court resolves
    the factual disputes "relating to the nature and scope of the [alleged] discovery violations."
   Defendant requests that this "Court schedule a hearing on the pending discovery motion and the
    scheduling of a trial date, should one be necessary, at a time convenient to [the Court] during the
   week of March 25." Defendant notes that a "30 day adjournment would move the start of the trial
    from March 25, 2024, which would conflict with Passover, which this year is from April 22 to April
    30. The Court cannot schedule the trial in a timeframe that would prevent or inhibit the ability of
    the observant Jews to participate as jurors." Defendant's letter of March 14, 2024, at FN 1.
            As evidenced by Defendant's most recent letter filed this afternoon, there are significant
    questions of fact which this Court must resolve before it may rule on Defendant's motion.
   Therefore, the Court agrees with Defendant that a prompt hearing is required on the pending
    discovery motion, the circumstances surrounding the document production by the USAO-SDNY
    and the scheduling of a trial date, if one is necessary.
            The hearing will be conducted on March 25, 2024, at 10:00 a.m. in Part 59. Trial on this
    matter is adjourned for 30 days from the date of this letter on consent of the People. The Court will
    set the new trial date, if necessary, when it rules on Defendant's motion following the hearing. This



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      The People notified the Court this morning that the production originally scheduled for next week was made
    today. The production consisted of 15,000 records. People's letter of March 15, 2024.
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   Court's directive that the parties, including the Defendant, not engage or otherwise enter into any
   commitment pending completion of this trial remains in effect.
          The parties are directed to separately furnish this Court, not later than Thursday, March 21,
   2024, a detailed timeline of the events surrounding the requests and ultimate production of
   documents by the USAO-SDNY that serve as the basis of the People's March 14, 2024 letter. The
   timeline should be accompanied by all correspondence between and among DANY, Defendant and
   USAO-SDNY that goes to the subject of Defendant's motion and which is covered by the People's
   notice of March 14, 2024. The correspondence must include but not be limited to letters,
   subpoenas, e-mails, notes, messages, etc. The requested documents are necessary for this Court to
   properly assess who, if anyone, is at fault for the late production of the documents, what prejudice,
   if any, was suffered by either party and what sanction(s) if any, are appropriate.
           In light of these recent developments and the delays occasioned thereby, there is no
   prejudice to Defendant in granting the People's request to extend their deadline to respond to
   Defendant's motion from March 15, 2024, to March 18, 2024. Likewise, there is no prejudice to
   Defendant in granting the People's motion to extend the deadline to finalize trial exhibit
   designations from March 15, 2024, to March 25, 2024.
           This Court stresses that the hearing will be limited to the specific issue of Defendant's
   motion to dismiss on the grounds of the People's alleged discovery violations related to the production of
   records ry USAO-SDNY - only. Likewise, the timeline and accompanying documents produced to
   this Court shall not include documents or records constituting discovery unless, a particular record is
   necessary to resolve a factual dispute.
           This Court's Order of March 8, 2024, regarding the filing of premotion letters remains in
   effect until further notice of the Court.




                                                                                          s
                                                                                           e Court


    cc:    Counsel of record
           Assistant District Attorneys of record
           Court file
